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Case 2:24-cr-01044-MTL

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Filed 06/18/24 Page1of14

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Case 2:24-cr-01044-MTL Document1 Filed 06/18/24 Page 2of14

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA
United States of America, No.

Plaintiff,
INDICTMENT

VIO: 18U.S.C. § 1349

(Conspiracy)
ount |

VS.

Rita Anagho,

Defendant. 18 U.S.C. §§ 1347 and 2
Healthcare Fraud)
ounts 2—5

18 U.S.C. §§ 1957 and 2
ii ransactional Money Laundering)
unts 6-9

18 U.S.C. §§ 1518 and 2
(Obstructing a Health Care Fraud
Investigation)

Count 10

18 U.S.C. § 981(a)(1)(C)
18 U.S.C. : SBC)

21 U.S.C. § 853

28 U.S.C. § 2461(c)
Forfeiture Allegations

THE GRAND JURY CHARGES:

At all times material to this indictment, within the District of Arizona and elsewhere:

INTRODUCTION

1. Between on or about May 20, 2022, and on or about March 3, 2023, RITA
ANAGHO, acting primarily though her company, Tusa Integrated Clinic LLC (“TUSA”),
falsely and fraudulently billed the Arizona Health Care Cost Containment System
(“AHCCCS”) approximately $69.7 million for behavioral healthcare services, causing
AHCCCS to pay TUSA approximately $55.4 million. ANAGHO primarily targeted
AHCCCS’s American Indian Health Program (““AIHP”), among other programs, and billed

AHCCCS for services that were never provided and not provided as represented.

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Case 2:24-cr-01044-MTL Document1 Filed 06/18/24 Page 3of14

Background on the Arizona Health Care Cost Containment System

2. AHCCCS is Arizona’s Medicaid agency that offers health care programs to
Arizona residents. AHCCCS contracts with several health plans to provide covered
services and works with medical providers, such as doctors, hospitals, pharmacies,
specialists, and counselors, to provide care for AHCCCS members. Covered services
include, among other services, behavioral health counseling services, such as counseling
and substance abuse treatment.

3. AHCCCS administers Medicaid health care programs to Arizona residents
who meet certain income requirements. The federal government pays states for the
majority of Medicaid program expenditures. Among other programs and plans, AHCCCS
provides care through AIHP, through which AHCCCS-enrolled Native Americans may
receive health care services, including preventive and behavioral health care services, on a
fee-for-service basis.

4. All medical providers who serve AHCCCS members are required to be
screened and enrolled as an approved provider before AHCCCS pays the provider for
medical services provided to its members. For a medical professional to become a provider
in the AHCCCS program, the provider must truthfully and accurately complete a provider
enrollment paperwork package and submit it to AHCCCS. Officials at AHCCCS review
such applications and, if they approve the application, the medical provider is then
permitted to begin providing medical services to AHCCCS members and receive payments
from AHCCCS for medical services rendered.

5. As part of their AHCCCS application, providers must fill out and sign a
provider participation agreement that includes a certification in which they agree to abide
by all laws, regulations, and policies governing AHCCCS. RITA ANAGHO filled out and
signed the provider participation agreement and certification for TUSA, which was

submitted on or about July 13, 2022.

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Case 2:24-cr-01044-MTL Document1 Filed 06/18/24 Page4of14

6. After an approved AHCCCS provider provides services to an AHCCCS
member, the provider typically submits a claim for payment through an online portal
operated by AHCCCS. As part of such a claim submission, AHCCCS requires the provider
to disclose the date services were provided, codes that reflect the type of services provided,
as well as the total amount of reimbursement sought by the provider.

7. AHCCCS typically pays its providers either by check or by electronically
transmitting funds to a bank account.

8. AHCCCS providers are required to be registered, and TUSA was registered
under AHCCCS Provider ID ending x9406 and National Provider ID ending x4763.

9. AHCCCS was a “health care benefit program,” as defined in Title 18, United
States Code, Section 24(b), and a “Federal health care program” as defined in Title 42,
United States Code, Section 1320(a)-7b(f).

10. AHCCCS-covered services, including behavioral health services, must be
medically necessary, cost effective, federally reimbursable, and state reimbursable.
Arizona Administrative Code R9-22-202.

11. | Outpatient behavioral health services are behavioral health services provided

by an outpatient treatment center (“OTC”). OTC means a health care institution without

‘inpatient beds that provides physical health services or behavioral health services for the

diagnosis and treatment of patients. Arizona Administrative Code R9-10-101.

12. OTC services include therapy in the form of intensive outpatient services
(“IOP”) and outpatient services (“OP”). IOP and OP patients attend facilities on an
ongoing basis where treatment is rendered, generally in the form of group and individual
therapy sessions. The distinction among the two different treatment plans relates to, among
other things, the amount of therapy time on a daily or weekly basis.

Individuals and Entities Involved

13. RITA ANAGHO resides in Arizona. ANAGHO directed the day-to-day

operations of TUSA.

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Case 2:24-cr-01044-MTL Document1 Filed 06/18/24 Page5of14

14. TUSA, an OTC, was organized in Arizona on or about May 20, 2022, as a
domestic LLC providing “Health Care and Social Assistance.” RITA ANAGHO was listed
in the Arizona Corporation Commission documents as the sole member, principal, and
organizer of TUSA. The address for TUSA was listed as **** South Rural Road, Tempe,
Arizona, 85282.

15. |TUSA applied to the Arizona Department of Health Services for a license as
an OTC on or about May 20, 2022, and this application was received on or about June 3,
2022. RITA ANAGHO was listed as the Chief Administrative Officer for TUSA on this
application. RITA ANAGHO signed this application as TUSA’s owner. TUSA was
licensed as an OTC effective on June 28, 2022.

16. Individual 1 was the owner and operator of Company 1. Individual 1 was
listed as the statutory agent for TUSA on its application to be licensed as an OTC with the
Arizona Department of Health Services. —

17. Company 1 was organized in Arizona on or about August 5, 2021.
According to its website, Company | provided credentialing and enrolling, medical coding,
and billing services for medical practices. Company | provided such services for TUSA
during the period of the conspiracy. Company | was listed as the statutory agent for TUSA
in its formation documents.

18. Individual 2, who was a resident of Peoria, Arizona, worked at TUSA and
owned Company 2.

19. | Company 2 was organized in Arizona on or about June 10, 2021, as an LLC,
and provided housing to addiction treatment patients who purportedly received therapy
services from TUSA.

20. Individual 3, who was a resident of Laveen and Phoenix, Arizona, owned
Company 3.

21. Company 3 was organized in Arizona on or about October 25, 2022, as an

LLC, and provided housing to addiction treatment patients who purportedly received

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Case 2:24-cr-01044-MTL Document1 Filed 06/18/24 Page6of14

therapy services from multiple OTCs, including TUSA.

22. Individual 4, who was a resident of Tempe, Arizona, worked at TUSA, and
was a signatory on several corporate bank accounts for TUSA.

23. Individual 5, who was a resident of Phoenix, Arizona, worked at TUSA.

24. Individual 6, who was a resident of Phoenix, Arizona, worked at TUSA.

Investigation into Widespread AHCCCS Fraud

25. The AHCCCS Office of Inspector General (“OIG”) began investigating a
widespread fraud in which residential and outpatient treatment centers recruited Native
Americans and other individuals to exploit the AIHP under AHCCCS. Because it was
easier to enroll as a provider with AIHP than some other AHCCCS insurance programs,
and because AIHP’s reimbursement rates for certain behavioral health services were
sometimes higher than those of other programs, these treatment centers preferred patients
who were enrolled in AIHP. In some cases, these treatment centers identified potential
patients and enrolled the patients in ATHP or had the patients switch their existing
AHCCCS insurance plan to AIHP, regardless of whether the patient was Native American.

Funds Received from AHCCCS

26. TUSA’s corporate bank accounts for the relevant period were three J.P.
Morgan Chase accounts ending x2208, x2216, and x3092, and one Bank of America
account ending x3081. Bank records show deposits of approximately $55.4 million in
income from AHCCCS programs during the relevant period. RITA ANAGHO and
Individual 4 were the sole signatories on these bank accounts.

27. RITA ANAGHO controlled the $55.4 million TUSA received from
AHCCCS during the relevant period. ANAGHO paid approximately $30 million in illegal
kickbacks to various residences whose owners and managers in turn caused the residents
to purportedly attend treatment at TUSA. ANAGHO used the funds to purchase, among
other things, approximately $1.3 million in residential real estate, a hospital for

approximately $5.8 million, and over $275,000 in vehicles and related expenses.

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Case 2:24-cr-01044-MTL Document1 Filed 06/18/24 Page /7of14

Approximately $200,000 was spent on retail purchases, travel, and at casinos. Individual
4, who was also a signatory on TUSA’s corporate accounts, spent over $415,000 on

vehicles and related expenses, and over $230,000 on retail purchases and travel.

COUNT 1
Conspiracy
(18 U.S.C. § 1349)

28.. The factual allegations above are incorporated for Count I.

29. Beginning at a time unknown to the grand jury, but at least as early as on or
about May 20, 2022, and continuing to on or about March 3, 2023, in the District of Arizona
and elsewhere, Defendant RITA ANAGHO and Individual 1, individually and doing
business under the entities described above, along with other individuals and entities
known and unknown to the grand jury, knowingly and willfully agreed and conspired with
each other and others to commit the following offenses against the United States: wire
fraud, in violation of 18 U.S.C. § 1343; and health care fraud, in violation of 18 U.S.C.
§ 1347.

Purpose of the Conspiracy

30. It was a purpose of the conspiracy for the Defendant, Individual 1, and their
co-conspirators to unjustly enrich themselves by, among other things: (a) submitting and
causing the submission of false and fraudulent claims to AHCCCS; (b) concealing the
submission of false and fraudulent claims to AHCCCS, and the receipt and transfer of fraud
proceeds; and (c) diverting the fraud proceeds for their personal use and benefit, the use
and benefit of others, and to further the fraud.

Manner and Means of the Conspiracy and Scheme

31. The manner and means used by Defendant, Individual 1, and others,

individually and through the entities described above, to effect the objects of the conspiracy

and scheme to defraud, included the following:

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Case 2:24-cr-01044-MTL Document1 Filed 06/18/24 Page 8of14

a. RITA ANAGHO established, operated, and controlled TUSA, an
OTC, which was purportedly in the business of providing addiction treatment
services for persons suffering from alcohol and drug addiction.

b. To obtain and retain patients for TUSA whose insurance, including
AHCCCS, could be billed for substance abuse treatment services such as JOP and
OP, RITA ANAGHO and her co-conspirators offered and paid illegal kickbacks and
bribes to owners of residences that housed substance abuse treatment patients,
including but not limited to Individual 2 and Individual 3, in exchange for these
residence owners referring patients for treatment to TUSA. Many of the patients
recruited for TUSA in this manner were Native Americans and/or other individuals
who were enrolled in AIHP.

C. RITA ANAGHO and her co-conspirators paid illegal kickbacks and
bribes that varied based on the volume and value of the referred patients, including
paying more money to the residence owners, including but not limited to Individual
2 and Individual 3, in exchange for patients with AIHP insurance compared to
patients with other plans because the reimbursement from AHCCCS for these
patients was generally higher.

d. RITA ANAGHO, Individual 1, and their co-conspirators submitted
and caused others to submit, via interstate wire communications, false and
fraudulent claims to AHCCCS for behavioral health substance abuse treatment
therapy services that were not provided, were not provided as billed, were not
provided by qualified personnel, were so substandard that they failed to serve a
treatment purpose, were not used or integrated into any treatment plan, and/or were
medically unnecessary.

g. RITA ANAGHO, Individual 1, and their co-conspirators falsified and
altered, and caused the falsification and alteration, of TUSA therapy notes reflecting

that TUSA’s patients attended therapy when they did not and/or reflecting that

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Case 2:24-cr-01044-MTL Document1 Filed 06/18/24 Page 9 of 14

therapy was provided when it was not.

f. RITA ANAGHO, Individual 1, and their co-conspirators submitted
and caused the submission to AHCCCS, via interstate wire communications, of false
and fraudulent claims in the amount of approximately $69,692,496 for services that
were procured through the payment of illegal kickbacks and bribes, medically
unnecessary, ineligible for reimbursement, and not provided as represented.
AHCCCS paid the approximate amount of $55,368,889 to TUSA’s corporate
accounts for these false and fraudulent claims.

All in violation of 18 U.S.C. § 1349.

COUNTS 2-5
Health Care Fraud
(18 U.S.C. §§ 1347 and 2)

32. The factual allegations above are incorporated for Counts 2-5.

33. Between at least as early as May 20, 2022, and continuing through at least as
late as March 3, 2023, in the District of Arizona and elsewhere, Defendant RITA
ANAGHO and Individual 1, individually and doing business under the entities described
above, along with other individuals and entities known and unknown to the grand jury,
knowingly and willfully executed and attempted to execute a scheme and artifice to defraud
a health care benefit program and to obtain by means of false or fraudulent pretenses,
representations, and promises, money and property owned by and under the custody or
control of a health care benefit program, to wit: AHCCCS, in connection with the delivery
of and payment for health care benefits, items, and services.

34. Onor about the dates below, RITA ANAGHO and Individual 1 submitted
and caused to be submitted to AHCCCS the following examples of fraudulent billings

related to TUSA, with each instance serving as a separate Indictment count:

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Case 2:24-cr-01044-MTL Document1 Filed 06/18/24 Page 10of 14

Approx. | Approx. | Approx. Date of.
Ct | Patient Date Amount | Amount Claim Numbers

Submitted’ epilled || paid | ena
>| TY. | 12/15/2022} $1,220 | $1,220 | 12/12/2022 | 223495601472001-005

3 | A.M. | 1/27/2023 | $1,220 | $1,220 | 1/23/2023 | 230275601918001-005

4 CBs 1/30/2023 | $1,220 | $1,220 | 1/23/2023 | 230305600056001-005

5 IPs 2/13/2023 | $1,220 | $1,220 | 1/27/2023 | 230445603580001-005

Each in violation of 18 U.S.C. §§ 1347 and 2.

COUNTS 6-9
Transactional Money Laundering
(18 U.S.C. §§ 1957 and 2)

35. The factual allegations above are incorporated for Counts 6-9.

36. | Onthe dates listed below, RITA ANAGHO, individually and doing business
under the entities described above, along with other individuals and entities known and
unknown to the grand jury, in the District of Arizona and elsewhere, knowingly engaged
and attempted to engage in the following transactions in the United States with criminally
derived property of a value exceeding $10,000, derived from specified unlawful activity,
namely wire fraud, in violation of Title 18, United States Code, Section 1343, health care
fraud, in violation of Title 18, United States Code, Section 1347, and conspiracy to commit

health care fraud and wire fraud, in violation of Title 18, United States Code, Section 1349:

Approx. Approx. Transaction

ct Date Amount (JP Morgan Chase)

ANAGHO wrote a check from #2208 to a car

6 1/2/2023 $34,915 dealership

7 3/9/2023 $50,000 ANAGHO withdrew cash from #2208

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Case 2:24-cr-01044-MTL Document1 Filed 06/18/24 Page 11of 14

Approx. Approx. Transaction

ae Date Amount (JP Morgan Chase)

ANAGHO wired funds from a holding account
8 4/21/2023 | $5.8 million she controlled #8158 to a title company to
purchase a hospital.

ANAGHO purchased a home in the name of

9 | 6/2/2023 | $1.3 million Individual 4 with funds from #2208.

Each in violation of 18 U.S.C. §§ 1957 and 2.

COUNT 10
Obstruction of a Criminal Health Care Fraud Investigation
(18 U.S.C. §§ 1518 and 2)

37. The factual allegations above are incorporated by reference for Count 10.

38. Onorabout February 1, 2024, in the District of Arizona and elsewhere, RITA
ANAGHO did willfully prevent, obstruct, mislead, and delay, and attempt to willfully
prevent, obstruct, mislead, and delay the communication of information and records
relating to a violation of a Federal health care offense to a criminal investigator, by sending
an email instructing Individual 5 and Individual 6 to create false therapy notes for sessions
they did not conduct in 2023, which Defendant RITA ANAGHO knew to be false, to be
included in patient files to. be produced in response to a federal grand jury subpoena
requesting patient files from TUSA.
This was in violation of 18 U.S.C. §§ 1518 and 2.

FORFEITURE ALLEGATIONS
39. The factual allegations above are incorporated for forfeiture. The grand jury
further realleges and incorporates the allegations of Counts 1 through 10 of this indictment,
which are incorporated by reference as though fully set forth herein.
AQ. Pursuant to 18 U.S.C. §§ 981 and 982, 21 U.S.C. § 853, and 28 U.S.C.

§ 2461(c), upon conviction of one or more of the offenses alleged in counts 1 through 10

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Case 2:24-cr-01044-MTL Document1 Filed 06/18/24 Page 12 of 14

above, Defendant ANAGHO shall forfeit to the United States all right, title, and interest in

any and all property, real or personal, involved in such offense(s), or in any property

traceable to such property involved in the offense(s), including the following: (a) all money

or other property that was the subject of each transaction or transfer in violation of a statute

listed in 18 U.S.C. § 982; (b) all other property constituting proceeds obtained as a result

of those violations; and (c) all property used in any manner or part to commit or to facilitate

the commission of those violations. Such property includes, but is not limited to, a sum of

money equal to at least $55.4 million in U.S. currency, representing the amount of proceeds

involved in the offenses, and the specific property named below.

a.

All that lot or parcels of land, together with its buildings, appurtenances,
improvements, fixtures, attachments and easements, located at 450 West
Adamsville Road, Florence, Arizona 85132 and more particularly described
as Pinal County, Arizona Assessor’s Parcel Number (APN) 202-10-010A, a
parcel of land approximately 7.92 acres and a building of approximately
87,598 square feet

All that lot or parcel of land, together with its buildings, appurtenances,
improvements, fixtures, attachments and easements, located at 3338 West
Silverdale Road, Queen Creek, Arizona 85142 and more particularly
described as Pinal County Arizona APN 509-20-012K, a parcel of land
approximately 3.30 acres and a building of approximately 4,623 square feet
$131,587.75 in funds seized from JPMorgan Chase account number ending
in x2208

$34,076.10 in funds seized from JPMorgan Chase account number ending in
x2216

$174,653.82 in funds seized from JPMorgan Chase account number ending
in x3092

$4,350,958.17 in funds seized from JPMorgan Chase account number ending

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Case 2:24-cr-01044-MTL Document1 Filed 06/18/24 Page 13 of 14

in x3801

g. $4,425,518.38 in funds seized from JPMorgan Chase account number ending
in x0731

h. $2,911.07 in funds seized from JPMorgan Chase account number ending in
x2679

i. $550,165.98 in funds seized from JPMorgan Chase account number ending
in x8158

41. If any of the forfeitable property, as a result of any act or omission by any

Defendant,

a. cannot be located upon the exercise of due diligence,

b. has been transferred, sold to, or deposited with a third party,

e, has been placed beyond the jurisdiction of the court,

d. had been substantially diminished in value, or

& has been commingled with other property and cannot be divided without

difficulty,

it is the intent of the United States to seek forfeiture of any other property of that Defendant

up to the value of the above-described forfeitable property, pursuant to 21 U.S.C. § 853(p).

A TRUE BILL

/s/
FOREPERSON OF THE GRAND JURY
Date: June 18, 2024

GARY M. RESTAINO
United States Attorney
District of Arizona

/s/

MATTHEW WILLIAMS |,
Assistant U.S. Attorney

GLENN S. LEON
Chief, Fraud Section

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Case 2:24-cr-01044-MTL Document 1

United States Department of Justice

/s/
JAMES V. HAYES
Assistant Chief
SARAH E. EDWARDS
Trial Attorney

Filed 06/18/24

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Page 14 of 14

